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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                             Bankruptcy No. 19-12649

 BOBBY L. FISHER,                                   Chapter 13

               Debtor,                              Document No.

 HARLEY-DAVIDSON CREDIT CORP.,

                Movant,
          v.

 BOBBY L. FISHER and
 WILLIAM C. MILLER, Trustee,

                 Respondents.


                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          AND NOW, comes Movant, Harley-Davidson Credit Corp., by and through its

undersigned counsel, Bernstein-Burkley, P.C., and files this Motion for Relief from the

Automatic Stay (the “Motion”), representing as follows:

          The Parties

          1.     Respondent, Bobby L. Fisher, (“Debtor”), is an adult individuals with a place of

residence located at 1418 Melton Street, Bristol, PA 19007.

          2.     William C. Miller, is the duly appointed Chapter 13 Trustee and is currently

acting in such capacity.

          Jurisdiction and Venue

          3.     This matter is a core proceeding and this Court has jurisdiction pursuant to 28

U.S.C. § 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Movant seeks relief

pursuant to 11 U.S.C. § 362(d) and FRBP 4001 and 9014.
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        Factual Background

        4.     On or about April 25, 2019, Debtor filed a voluntary petition for relief pursuant to

Chapter 13 of the Bankruptcy Code.

        5.     On or about December 28, 2016, Debtor purchased a 2008 Harley-Davidson

FLHTCUSE3, Screamin Eagle, VIN #1HD1PR81X8Y954347, pursuant to a Promissory Note

and Security Agreement (the “Contract”) with the Movant, a true and correct copy of which is

attached hereto as Exhibit A.

        6.     Movant has a secured interest in the 2008 Harley-Davidson FLHTCUSE3,

Screamin Eagle, VIN #1HD1PR81X8Y954347, as evidenced by the Certificate of Title attached

hereto as Exhibit B.

        7.     The Contract requires monthly payments of $405.75, which amounts are due on

or before the 27th of each month.

        8.     As of the date of this Motion, Debtor is in default of their payment obligations to

Movant in the amount of $2,349.20. Debtor is currently due for the payment due on October 27,

2019.

        9.     Debtor’s Chapter 13 Plan states that payments to Movant will be made outside the

Plan.

        10.    The gross balance due on the Contract is $13,614.42.

        11.    The N.A.D.A value for the 2008 Harley-Davidson FLHTCUSE3, Screamin Eagle,

VIN #1HD1PR81X8Y954347 is $12,630.00. A true and correct copy of a printout showing that

value is attached hereto as Exhibit C. Therefore there is no equity in the collateral, the Debtor is

still responsible for making monthly payments to Movant.
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       12.    Movant is entitled to relief from the automatic stay for cause, including the lack

of adequate protection, because Debtor has failed to make post-petition payments to Movant. 11

U.S.C. §362(d)(1).

       WHEREFORE, Movant, Harley-Davidson Credit Corp., respectfully requests that this

Honorable Court enter an Order, pursuant to 11 U.S.C. § 362(d), granting Movant relief from stay

with respect to the 2008 Harley-Davidson FLHTCUSE3, Screamin Eagle, VIN

#1HD1PR81X8Y954347.


                                                    Respectfully submitted,

                                                    BERNSTEIN-BURKLEY, P.C.


                                                    By: /s/ Keri P. Ebeck
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                                                    Counsel for Harley-Davidson Credit Corp.

Dated: April 14, 2020
